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                                                    EXHIBIT E

             Claim 1 of U.S. Patent No. 7,145,044                               Accused Process

            A method of crystallizing reduced coenzyme Q10      Exhibit C states that DuoQuinol/CoQnol is a form
                                                             of Ubiquinol and produced through a method involving
                                                             the use of geranygeraniol and ascorbyl palmitate.
                                                             Uniquinol is another name for reduced coenzyme Q10.



       which comprises crystallizing the reduced             Exhibit D, Reports 2 and 3 show that the CoQnol
coenzyme Q10 using as a solvent at least one species         product containing reduced Q10 is crystallized.
selected from the group consisting of hydrocarbons,
fatty acid esters, ethers or nitriles.                       The label on a bottle of CoQnol states that the product
                                                             contains Medium Chain Triglycerides (MCT), MCT
                                                             oil is a fatty acid ester and a solvent.




                                                    Exhibit E, Page 1

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             Claim 13 of U.S. Patent No. 7,145,044                              Accused Process

            A reduced coenzyme Q10 crystal.                      Exhibit C states that DuoQuinol/CoQnol is a form
                                                              of Ubiquinol. Ubiquinol is another name for reduced
                                                              coenzyme Q10.


    with a reduced coenzyme Q10 / oxidized Q10                      Exhibit D, Reports 2 and 3 show that the CoQnol
weight ratio of not lower than 96/4.                          product containing reduced Q10 is crystallized.

                                                              Exhibit D, Report 1, Table 1 shows that the reduced
                                                              Q10 weight ratio was 99.7 in the CoQnol capsule.




                                                     Exhibit E, Page 2

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             Claim 1 of U.S. Patent No. 7,829,080                              Accused Product

      A method for stabilizing reduced coenzyme Q10,               Exhibit C states that DuoQuinol/CoQnol is a
which method comprises                                       form of Ubiquinol and produced through a method
                                                             involving the use of geranygeraniol and ascorbyl
                                                             palmitate. Any production of reduced coenzyme Q10
                                                             (Ubiquinol) must be stabilized to protect the reduced
                                                             Q10 from oxidation.




      preparing a reduced coenzyme Q10-containing     Exhibit D, Report 1, Table 2 shows that the CoQnol
composition comprising reduced coenzyme Q10 and one product contains 88 ug of reduced Q11.
or both of (a) and (b):

      (a) not less than 1.5 wt % to not more than 99 wt
% of reduced coenzyme Q9 relative to reduced
coenzyme Q10, and

            (b) reduced coenzyme Q11,




                                                    Exhibit E, Page 3

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     wherein not less than 0.01 wt % of reduced                Exhibit D, Report 1, Table 1 shows that the
coenzyme Q10 is contained in the composition, and        amount of reduced coenzyme Q10 in the CoQnol
                                                         capsule is 222.3 mg where the combination
                                                         composition of Q10 and reduced Q10 was 223 mg.


       wherein the proportion of reduced coenzyme Q10          Exhibit D, Report 1, Table 1 shows that the
relative to the total amount of coenzyme Q10 is not less amount of reduced coenzyme Q10 in the CoQnol
than 90 wt %, thereby stabilizing reduced coenzyme       capsule is 99.7 %.
Q10.




                                                Exhibit E, Page 4

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             Claim 5 of U.S. Patent No. 7,829,080                              Accused Product

      A reduced coenzyme Q10-containing                            Exhibit C states that DuoQuinol/CoQnol is a
composition comprising reduced coenzyme Q10 and              form of Ubiquinol which is another name for reduced
one or both of (a) and (b):                                  coenzyme Q10.

       a) not less than 1.5 wt % to not more than 99 wt
% of reduced coenzyme Q9 relative to reduced
coenzyme Q10, and                                                  Exhibit D, Report 1, Table 2 shows that the
                                                             CoQnol product contains 88 ug of reduced Q11.
            (b) reduced coenzyme Q11


     wherein not less than 0.01 wt % of reduced                    Exhibit D, Report 1, Table 1 shows that the
coenzyme Q10 is contained in the composition, and            amount of reduced coenzyme Q10 in the CoQnol
                                                             capsule is 222.3 mg where the combination
                                                             composition of Q10 and reduced Q10 was 223 mg.



       wherein the proportion of reduced coenzyme Q10                 Exhibit D, Report 1, Table 1 shows that
relative to the total amount of coenzyme Q10 is not less the amount of reduced coenzyme Q10 in the CoQnol
than 90 wt %.                                            capsule is 99.7 %.




                                                    Exhibit E, Page 5

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            Claim 15 of U.S. Patent No. 7,829,080                              Accused Product

      A method for producing a reduced coenzyme                    Exhibit C states that DuoQuinol/CoQnol is a
Q10-containing composition, which method comprises           form of Ubiquinol (reduced coenzyme Q10) and
                                                             produced through a method involving the use of
                                                             geranygeraniol and ascorbyl palmitate.

      providing a composition comprising oxidized                 Exhibit D, Report 1, Table 1 shows that the
coenzyme Q10 with one or both of oxidized coenzyme           CoQnol product includes oxidized Q10 and Table 2
Q9 and oxidized coenzyme Q11,                                shows that the CoQnol product includes Q11.


      and then reducing oxidized coenzyme Q10 and                   The accused method reduces oxidized coenzyme
reducing one or both of oxidized coenzyme Q9 and             Q10, to produce reduced coenzyme Q10 and, during that
oxidized coenzyme Q11 to prepare the reduced                 reaction, the coenzyme Q11 is also reduced.
coenzyme Q10-containing composition,


       wherein the composition comprises reduced                 Exhibit D, Report 1, Table 2 shows that the
coenzyme Q10 and one or both of (a) not less than 1.5        CoQnol product contains 88 ug of Q11.
wt % to not more than 99 wt % of reduced coenzyme
Q9 relative to reduced coenzyme Q10 and (b) reduced
coenzyme Q11,

                                                                   Exhibit D, Report 1, Table 1 shows that the
     wherein not less than 0.01 wt % of reduced              amount of reduced coenzyme Q10 in the CoQnol
coenzyme Q10 is contained in the composition, and            capsule is 222.3 mg where the combination
                                                             composition of Q10 and reduced Q10 was 223 mg.
                                                    Exhibit E, Page 6

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       wherein the proportion of reduced coenzyme Q10                       Exhibit D, Report 1, Table 1 shows
relative to the total amount of coenzyme Q10 is not less that the amount of reduced coenzyme Q10 in the
than 90 wt %.                                            CoQnol capsule is 99.7 %.




                                                Exhibit E, Page 7

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